
17 A.3d 696 (2011)
418 Md. 629
In the Matter of Jennifer Lynn LEATHERMAN.
Petition for Reinstatement to the Practice of Law.
Misc. Docket AG No. 62, September Term, 2010.
Court of Appeals of Maryland.
April 22, 2011.

ORDER
This matter came before the Court on the Petition for Reinstatement of Jennifer Leatherman and the response of Bar Counsel, and
The Court having considered the Petition and response, it is this 22nd day of April, 2011,
ORDERED by the Court of Appeals of Maryland, that Jennifer Leatherman be, and she is hereby reinstated to the practice of law in this State; and it is further ORDERED that the Clerk of the Court shall replace the name of Jennifer Leatherman upon the register of attorneys entitled to practice law in this State and certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
